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Professional Service With integrity For Over 30 Years

April 5, 2023

UNIBANK FOR SAVINGS

49 Church Street

Whitinsville, MA 01588

RE: RISHI KUMAR KAPOOR AND JENNIE ELIZABETH FRANK KAPOOR
To Whom It May Concern:

Enclosed please find the recorded First Preferred Ships Mortgage for
the above referenced client(s).

Upon payment in full, a satisfaction of mortgage should be issued for filing with
the U.S. Coast Guard to formally release the lien. If you are unfamiliar with this
procedure, you may call us and we’ll be happy to help you.

Thank you for the opportunity to be of service.

Président

cc: customer

P.O. Box 808 « Riverview, Florida 33568-0808 » Phone (813) 677-6885 » Fax (81 3) 677-5305
www.creativeyacht.com * email: info@creativeyacht.com
Case EMAYLED Batch #IT6830300 FSGeH°9 7 Fite Bate! 3720/0023 9:°45-60'AM

This section reserved for USCG data.

FIRST PREFERRED SHIP’S MORTGAGE

FIRST PREFERRED SINP'S MORTGAGE dated March (>, W!Ainder the Commercial Instruments and Maritime Lien, and its
anemiment{s) securing t PROMISSORY NOTE or INSTALLMENT NOTE andor HYPOTHECATION AGREEMENT dated

4p 3/ 2023 .

This is a Preferred Ship's Mortgage on the Vessel named SUNEETA I being created under Federal Law. The amount of this Marigage is
required to be shown by the Ship Mortgage Act of 1920, and its Amendment(s). in the Loan Amountof $4,282,235.00 . This Martgage
also secures repayiment of simple interest us il accrues or precomputed interest to appropriate prepayment credit and performance of
Morigage representations, warranties and promises,

1, PARTUHES;

MORTGAGOR(S) MORTGAGEE
RISHT KUMAR KAPOOR AND UNUBANK FOR SAVINGS
JENNIE ELIZABETH FRANK KAPOOR 49 CHURCH ST

7233 LOS PINOS BLVD. WIHTUTINSVELLE, MA 01588

CORAL GABLES, FL 33143

OWNER(S) 100%
100%

The words 1, Me, Mine, We and Our, ncan everyone (Individual(s), Partners, or Corporations) who sign this Mortgage as
Mortasgor and, where applicable, other Owner(s), and the Personal Representative(s}, Suceessar(s) and Assign(s) of Mortgagor
and any other Owner, ‘The words You and Your mean the Mortgage and anyone who has Mortgagee’s rights under this
Mortgage. [f this Mortgace is given by 2 Corporation, the words IC and Hs niay alsa mean Corporation.

2, DESCRIPTION OF BOAT: ‘The Boat covered by this Mortgage is described below and is not a Towboat, Burge, Scow, Lighter, Car
Float, Canal Bout or Tank Vessel of 25 Gross Tons, as such ure defined in 46 U.S.C. Sec. 922.

NAME OF VESSEL: SUNEETA If OFFICIAL NO:
HAILING PORT: COCOPLUM, FL HIULLID NO: VSC72041B323
BUILD: PRINCESS MODEL VEAR: 2023

ENGINE(S): Port: 71063968096398 Starboard: 71063968116388
SUMMER MOORING: Cocoplum Yacht Chib, 6500 Prado Bivd., Miami, FL. 33142
WINTER MOORING: same as ahave

3. MULTIPLE MORTGAGES: Each person who signs this Mortgage as Mortgayor will be responsible for the fall amount of the debt and
everything required of Mongagor, untess specifically stated othenvise below, You may suc one Morigugor without juining or notifying sny
Co-Martgagor. You do nat have to notily one Mortgagor that another has defiulted under this Mortgage. You may give one Morigagor
extensions to pay or change or release his responsibility without releasing any Co-Mortgagar in the same way. Each person who signs this
Mortgage as an Owner makes all the Title Warranties but none of the other promises,

4. MORTGAGE DEBT: ‘This Morigage secures ny obligation (the debQ) now due, or which may become due in the future to you under
this Mortgage, ond under the Promissory Note, which is now held by you, given by me as Borrower lo UNIBANK FOR SAVINGS, as
lender, to be secured by dis Morigage on the Boat described above.

5. PROMISE TO PAY: J will pay ond perforny this debs.
6. GOVERNING LAW: The parties have chosen Federal Law, including but not limited to 46 ULS.C. Scetion 922 and the sections
Yollowing the Ship Mortgage Act of 1920, and its amendmtent(s), lo cover all the provisions of this Morigage. Inv particular 46 U.S.C. See.

926(d) covers the interest provisions of the Promissory Nate and this Mortgage, [{ there are gaps in Federal Law as (0 noninterest
provisions. and only to sueh extent, the law of the STATE OF MA shall govern this Mortgauy,

7, MORTGAGE: To secure the debt | mortgage to you the whole of the Boat aamed above and further deseribed in her last Marine

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Dycument, together with aff masts, towers, boilers. cubles, engines, machinery. sttils. rigging, auxiliiury boats, anchors, chains. tackle.
apparel, bowsprits, furniture, fittings, tools, pumps, radar, and other electronic or other equipment and supplies, and all fishing and other
attachments and accessories. now part of the Boat (all called the Boat). If] am not a Corporation, and the boat was purchased primarily for
my own nun-business use, the lien af this Mortgage shall not cover any items nodded to the boat more than 10 days atler the date of the
Promussory Note that ure nol made a part of the Boat, These excludable items, however, must be identified in writing for your or any
appropriate Court Officer before any duly noticed resale of the Boat.

In any event this Martgage shall caver only jlems which may be Mortguged under the Ship Mortgage Act of 1920, and its anendment{s).
Although you do nat intend to cover any property ether than the “vessel as defined in the Ship Mortgage Act. if'a Court says that this
Mortgage docs cover such other property (“Other Property”), then [ can have the “Other Property” separately released from this Mortgage
by paying .01% ofthe then outstanding balance of this Mortgage afler any appropriate prepayment credit. Releuse of such “Other Property”
from this Mortgage does not release it from any Security Agreement besides this Mortgage

8. CITIZENSITP: {om and shall continue to be a Citizea of the United States of America, andl (his Martguge is fully paid. If this
Martgaye is signed by a Corporation or Partnership. then { vertify that at least 75% of the Ownership is and shall continue to be citizens of
the United States of America. until this Mortgage is fully paid,

9, RIGHT TO OWN & OPERATE: ‘The Boat is Documented in my name under the Laws of the United States of America. 1am the Sale
Owner of lhe Boat and shall remain entitled to awn and operate the Boat under her Marine Document. [this Mortgage is given by 4
Corporation, the Corporation is property Incacparated and exists in good standing order under the Laws of the State of Incaporation.

10, MARING DOCUMENT: T shall nisintain the Marine Document of the Bout in full farce and effect and comply with State Registration
anys wherever the Bout may be,

HE. SIGNING AUTHORIZATION & VALIDITY: [have signed or authorized and directed the signing of all papers and taken all actions
necessary for the signing and delivery uf dis Mortgage, die Good Faith A ffidavil and the Promissory Note which created the debt secured
by this Moriguge, Uf this Mortgage is given by a Corporation, the Board of Directors have authorized and dirceted the signing of all papers
and taken afl actions necessary for the signing and delivery of this Mortguge, the Gand Faith Affidavit, and the Promissory Note which
created the debt secured by this Mortgage). ‘The Promissory Note and Mortgage are valid und enforceable,

12. NO PRIOR LIENS: T lawfully own and possess the Boat frec From all priar liens and cxtcusmbrances, except for the Hen of this
Mortgage.

13, TITLE WARRANTY: | warrant title to the Boat, This mcans (hat Fan responsible for your expenses ar losses anyone else
sticcesstully claiins an intercst in the Boat or any part of it.

td. RISK OF LOSS: Damage. destriction, or other loss af the Boat will nat colease me from my obligation to you, I wil) let you Know as
soon as I sun if the Boat becames damaged or destroyed or disappears.

(5. INSURANCE & NOTICE OF LOSS: Until t have paid the debt in fill, | will insure the Boat at all Umes for its foll insurable value
(what it is actually worth) unless you require a replacemuat cost, up to (he umount | owe you under this Mortgage, The Boat must be
insured against fire, theft, collision, liability Co others for properly damage, damage caused by water und weather conditions, and such other
hazards as you may reasonably ask me fo cover. The Insurance Company must be reasonably acceptable to you. Such insurance ayist
pratect you as well ag me. Such insurance must name you and/or your assigns as Mortgagces as additional insured and farther provide that
policies may not be canceled by the Insurance Conipany providing you and/or your assigns with ten (10) days prior writtca notice. The
Insurance Policy must be writen for at least onc year ata lime. J nnust pay the premiam in advance at the beginning of the policy year. I
must give you 9 bill tom the Insurance Company or its agent, or 4 copy of the declaration shuct of the policy for the new period showing
the dollar Hnils. premivns paid, name(s) of insured and the cancellation nvticc provisions described above. | have authorized the Insuranve
Company to pay any loss to you, You may sign any proof of loss and endorse any check, draft. or other form of payment issued by the
insurance Company or its ageat as a foss payment. If] do not have the insuranve at closing or al any time soon alter the closing, you may
buy instirance to protect you and me, or yourself only, and [will pay the premiums al your request with interest at the Coan Rate{s) in effect
under the Promissory Note.

16. USE OF THE BOAT: Twill not sell the Boat, pledge it as security, give it away, LEASE IT OR CHARTER TP WITHOUT YOUR
WRITTEN PERMISSION, OR CARRY PASSENGERS FOR HIRE. or pennit its usc for any ilegal purpose or Ict anyonc seize the Boat.
if Tiake the Boat to another country fwill comply with the laws of the country(ies) and with any treaty(ies) between those countries and the
United States of America. Use of the Boat shall be only for the purpose(s) and in the manner set forth in the application for insurance and
exceuted in connection thereol,

17, LOCATION OF THB BOAT: Twill not remove the Boal from its anchorage shown in Paragraph 2 of this Mortgaue for any period
beyand thirty (30) days witha your prior written approval,

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18. DISPLAY OF DOCUMENT ON BOAT: 1 will prominently display the Marine Document in the Pilot House, Chart Room, or
Master's Cabin, [will also keep 2 copy of lhe Recorded First Preferred Ship’s Mortgage with the Boat's papers and will show thent (o all
persons having business with the Boat and to you upon demand.

19. BILLS & TAXES: | shall pay when duc aay repair bills, storage bills, taxes, fines, or other charges of the Boat. You may pay any at”
these bills if] do not. I yau do, [will repay you on demand wilh interest at the Loan Rate(s) in effect under the Promissory Nous.

20. CARE OF THE BOAT: | will keep the Boat in good condition and repair.

21. GOVERNMENT SEIZURE: | will notify you promptly by telephone confirmed by telegraph or cable if the Boat is beled, attached.
seized, detained, or levied upon or taken into vustody by any court of authority. { will immediately take steps to have die Boat released, tf
the Boat is arrested or detained by any Government Authority, L authorize yov or your agent in my hae lo receive or lake possession of the
Boat and defend any action and/or discharge my lien.

22. INSPECTION OF BOAT & BOOKS: f will at all tintes tet you inspect the Bout and its carga, and papers and exmine any related
accounts and records, and shall ll you quarterly. or monthly if you request that all wages and other claims which might create a lien on the
Boat have becn paid. Prons time to time, f shall sige and deliver to you any documents and assurances that you or your attomey may require
to maintain priority of this Mortgage and to help you cary out resale of the Boat in the event it becomes necessary for yau ta repossess it.

if this Mortgage is given by 4 Business Entity, it will give you annual and other periodic financial reports you niay reasonably request,

23. LATE CHARGES, ATTORNEY FEES & COURT COSTS: J agrec to pay any lute charges that become due ander the Promissory
Note, atlomey ees, court casis, and any other expenses, lasses, charges, or damages incurred, or advances made by you the Morigagee in
the protection of its rights or caused by Owner's default hercin under or under the Promissory Note.

24, DEFAULT, ACCELERATION & REPOSSESSION;

{A) DEFAULT: twill be in default if} Dhave made ¢ false ar misleading statement about any importunt fact in this Mortgage ar in the
related Promissory Note, application, or any agreement: or 1 do not make any payment when due: of T die or became insolvent; or | file Tor
Buakrapicy or similar relief or creditors file for hankruptey against me; ar [let someone put u lien on the Boat; er the Boat lessens in valuc
or becomes valueless other than through normal depreciation: or my ability to make timely payments is cut off! or I break any promise I
have made in this Mortgage or in the Promissory Note or any agveement; or anything else happens that you in good faith and with
reasottable cause lo believe may endanger my ability to pay this Mortgage.

IF THIS MORTGAGE IS GIVEN BY A CORPORATION, you may also request full payment if shares uf its capital stock are sold ur
transferred to anyone who was nol a guarantor of the obligation secured by this Mortgage al the time that the Promissory Note was signed or
the Corporation ceases doing business as a going concern or makes an assignment for the benefit of creditors, liquidates substantially all of
its ussels or Ges for dissolution,

(B) ENTIRE BALANCE DUE: If Lant in default, you may require that the unpaid balance of the amount fisanced be paid in fall with
acerucd interest, but no prepayment credit is required because interest is not computed in advance far ihe term of the debt unless the
Promissory Note provides for such penalty. In the cuse of declaration of default and demand for paynient in fall, or alter matarity of the
Promissory Note. the unpaid balunce shall bear interest at the interest rate applicable under the Promissory Note. In the case of a judgment,
interest on the unpaid balance of the judginent will be payable at the rate of interest applicable under the Pramissary Note. or if not
permitted by law, at the highest lawl rate of interest under the Laws of the STATE OF MA,

(C) REPOSSESSION: Yau have die right to repossess the Boat without a Court Order if} default under the Promissory Note or this
Mortgage. Otherwise, you have the right to foreclose iy Federal Court under the Maritime Laws of the United States. You may demand
that! assemble the Boat and olf cquipment covered by this Mortgage.

(D) EFFECT OF REPOSSESSION: Provided that your repossession of the Boat is accomplished without a breach of pwace, | agree to
Waive all defenses available to me under the Uniform Commercial Code of other applicable laws pertaining to such repossession.

25, REDEMPTION: [you repossess the Boat, Lean get tt back by paying all past due installments, including interest, late charges.
collection expenses and atlomey fees including your cost of taking Ute Boat, moving. storage and similar expenses when | redeem it, My
right to redeem will end when the repossessed Boal has been sold, You agree to provide me with written notice of any repossession sale by
mailing such notice to the address indicated in Paragraph | of this Mortgage.

26. SALE OR USE OF REPOSSESSED BOAT: [you repossess the Boat, you may in my nante, lease, charter. operate ar use the Boat as
you think advisable, being accountable for net profits, fany, and keep the Boat free from charge at my premises or elsewhere at my
expense. For this purpose. and subject ta any State and/or Federal Regulations, you or your agent arc itrevacebly appointed my ue and
fawiul attorauys-in-fhet to make all necessury Gansfers af the Boat upon resale after repussession for me and in my nine.

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27, RESALE CREDIT ly
— RESAL MIT. i you resell the Boz Y fate charves i
suationcers foes marshal's face en Bout, any late charges. casts of taking the Boat, storage, costs af sale, (cleaning repairing
soba) aces sho 's Kees. ae Bocas and advertising), cust al insurance, aowable attorney fees and court costs will be
. 405 SOlG aller repossession, The difference ifuny. vw, it. I ow
sobre ’ I } + Fhe aiflerence funy, would be my resale cre e eh
credit, | will pay you the deficiency, 111 owe fess than the resale eredjt. | will receive the surplus mene creghs WTowe more dan

28.N RIGHTS; in ent
8. NO WAIVER OF RIGHTS: You tay delay in enforcing any of your rights without losing them,

29. RECEIVER: In any teead acti ; i
and powers ty tase ' ae legal aetian, you may have a receiver appointed for the Boat and its carnings, Any receiver shall Ruve fall rights
’ ang operite the Boat und obtain a Court Deeree ordering the sale of other disposition of the Boat,

30, USE OF THE BOAT BY OWNER: Unless { vi i
: ° > Unless f violate this Mornyage. and you repossess the Boat. J shall be permitte reladn actud
possession and tse of the frost. } cy shall be permiited to retain actwal

30. TIMELY PAYMENTS: All payments which ure required must be made on the due date. Jincept as provided in Paragraph 24 above.
there are no grace periods provided in this Morleupe, HT require additional ime te make a payinéat, understand that | must obtuin
uuthoriaation of upprovad for making a tate payment in writing is advance.

32, ADDITIONAL SECURITY: This Mortgage is given as additional xccurity @ my debt.
33. INVALID PROVISIONS: ff any provision of this Mosigage cinnat be enforced the rest of the Mortyage will stay in effect

34. AMENDMENTS: Any change in the terms of the Mortgage must be made in writing and signed by both you and me.

35, CONDITION OF THE BOAT: | hereby acknowledge that neither you nor uny of your agents or assigns have nyade any representations,
oral of written, of any nature pertaining to dhe Boat or ity operation. | further acknowledge that neither you nor your assigns manufactured
the Boat; therefore. in the event of any Icgot proceedings filed by you arising oul of the Promissory Nate of the Margage, | waive any and
all defenses available to me at Luw against you, your agents or assigns, arising aut of the Sale or Operation of the Baat,

On the day snd year first writen above, I/We have sitned this Morignge. or caused this Mortgage to be signed in my same or the Corparate,
of Partnership name, by the proper authorized officers.

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*

being duly/severally sworn, deposes and says that hefshe/they is/are (he Mortgagor(s) described herein and wito executed the
forepoiig Morigage, and that the Mortgage is made in good faith and without any design lo hinder, delay, ox defrand any existing
or foture creditors of the Mortgagor ov any Hen on the Mortgaged Boat. There are no Hens, encumbrances, charges, or Mortgages

vuistanding against the Boat, other than the lien of the foregoing Mortgage. If tie Mortgagor is a Corporation, this affidavit is
made pursuant to the authorization of the Board of Directors.

Me ALL PURPOSE ACKNOWLEDGMENT

A nolary publ-c or ather officer completing this certificate verifies only the
ge ‘ identty of tha individual who signed the document to which ih’s certificate Is
3 ExGe ‘ Fe C allached, and nol the tuthfulness, acouracy, or validity of thal document.
COUNTY OF: MPA yy ¢ ~DEA

on Maran. 3 2692, __ before me Ze, vgrenc| Cavule?

RISHI KUMAR KAPOOR JENNIE ELIZABETH FRANK KAPOOR

who proved to me on the basis of satisfactory evidence to be the person(s) whose name(s) is/are subscribed to the within instrument
and acknowledged to me that he/she/they executed the same in his/her/their authorized capacity(ies), and that by his/her/heir
signature(s) on the instrument the person(s), or the entity upon behalf of which the person(s) acted, executed the instrument.

cn ‘
| certify under PENALTY OF PERJURY under the laws of the State of “<7 ix SCAN. __ that the foregoing paragraph is true
and correct,

, Notary Public, personally appeared

WITNESS MY HAND AND OFFICIAL SEAL

COMMISSION EXPIRES: Nori| 13 ao2s,

wily, Raymond Gonzalez
SPSS comm, #HH116723
eae ites: Apr. 13, 2025
oe at =

TAR OF PES Thu Aaron Notary

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ELEONORA i i a at fa Eo

‘UNITED STATES OF A

DEPA

"NATIONAL VESSEL DOCUMENTATION CENTER

CERTIFICATE OF DOCUMENTATION

VESSEL NAME ~ | OFFICIAENUMBER:. ..]"IMO OR OTHER NUMBER. |-YEAR COMPLETED
SUNEETA II : | 1934793. s0720418323 § 2 | 2023

HAILING PORT HULU MATERIAL. “| MECHANICAL PROPULSION
COCOPLUM FL -FRP (FIBERGLASS). uy mL VES:

GROSS TONNAGE NET TONNAGE LENGTH BREADTH DEPTH

82 GRT 66 NRT
PLACE BUILT

PLYMOUTH UNITED KINGDOM Po Co gE
OWNERS OT ~ | OPERATIONAL ENDORSEMENTS |

RISHI KUMAR KAPOOR a |} RECREATION:
JENNIE ELIZABETH FRANK KAPOOR fa

MANAGING OWNER

RISHI KUMAR KAPOOR
7233 LOS PINOS BLVD
CORAL GABLES FL 33143),

4H] RESTRICTIONS
NO COASTWISE - FOREIGN BUILT;
NO FISHERY - FOREIGN BUILT :

}] ENTITLEMENTS , Cg PERE aoe ey
| NONE See a f° So .

REMARKS
NONE

ISSUE DATE
MARCH 29, 2023

THIS CERTIFICATE EXPIRES

CTL-MARCH 31, 2028:

